                   Case 23-00277                      Doc          Filed 04/11/23     Entered 04/11/23 12:57:24         Desc Main
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bkf




      Fill in this information to identify the case:

       Debtor 1        Wieslaw Kowalkowski

       Debtor 2
       United States Bankruptcy Court for the: Northern District of Illinois

       Case number :           23-00277


Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                          12/16

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against the debtor's principal residence.

File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.


      Name of                 MCLP Asset Company, Inc.                                               Court claim no.                     11
      creditor:                                                                                      (if known):
      Last 4 digits of any number
      you use to identify the debtor's                                         9662
      account:
      Does this notice supplement a prior notice of postpetition fees,
      expenses, and charges?
            [X] No
            [ ] Yes. Date of the last notice.

  Part 1:          Itemize Postpetition Fees, Expenses, and Charges

 Itemize the fees, expenses, and charges incurred on the debtor's mortgage
 account after the petition was filed. Do not include any escrow account
 disbursements or any amounts previously itemized in a notice filed in this
 case. If the court has previously approved an amount, indicate that
 approval in parentheses after the date the amount was incurred.

        Description                                                                              Dates incurred             Amount

       Late Charges                                                                                                        $0.00
       Non-sufficient funds (NSF) fees                                                                                     $0.00
       Attorney Fees                                                                                                       $0.00
       Filing fees and court costs                                                                                         $0.00
       Bankruptcy/Proof of claim fees                                                           03/13/2023                 $475.00
       Appraisal/Broker`s price opinion fees                                                                               $0.00
       Property Inspection Fees                                                                                            $0.00
       Tax Advances (Non-Escrow)                                                                                           $0.00
       Insurance Advances (Non-Escrow)                                                                                     $0.00
       Property preservation expenses. Specify:                                                                            $0.00
       Other. Specify: Plan Review Fees                                                         01/24/2023                 $475.00
       Other. Specify: 410A Fee                                                                                            $0.00
       Other. Specify: Objection to Confirmation                                                                           $0.00
       Other. Specify:                                                                                                     $0.00

The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
See 11 U.S.C. § 1332(b)(5) and Bankruptcy Rule 3002.1.




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Debtor 1 Wieslaw Kowalkowski                          ________                 Case Number: 23-00277
                First Name              Middle Name              Last Name




Part 2:          Sign Below

 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.

Check the appropriate box:


[ ] I am the creditor.
[X] I am the creditor's attorney or authorized agent.

I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
knowledge, information, and reasonable belief.


    /s/Christopher Giacinto                                                             Date    04/11/2023
    Signature



Print:                       Christopher Giacinto                            Title Authorized Agent for Creditor

Company                      Padgett Law Group

Address                      6267 Old Water Oak Road, Suite 203

                             Tallahassee FL, 32312

Contact phone                (850) 422-2520                  Email           PLGinquiries@padgettlawgroup.com




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                                       CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished to the parties on

                                                                                             11th
the attached Service List by electronic service and/or by First Class U.S. Mail on this the _________ day of

April, 2023.



                                                     /S/ Christopher Giacinto

                                                     ___________________________________
                                                     CHRISTOPHER GIACINTO
                                                     PADGETT LAW GROUP
                                                     6267 Old Water Oak Road, Suite 203
                                                     Tallahassee, FL 32312
                                                     (850) 422-2520 (telephone)
                                                     (850) 422-2567 (facsimile)
                                                     PLGinquiries@padgettlawgroup.com
                                                     Authorized Agent for Creditor




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                                        SERVICE LIST (CASE NO. 23-00277)

Debtor
Wieslaw Kowalkowski
3N700 Central Court
Addison, IL 60101

Attorney
Arthur Corbin
Corbin Law Firm, LLC
636 South River Road
Suite 201
Des Plaines, IL 60016

Trustee
Glenn B Stearns
801 Warrenville Road
Suite 650
Lisle, IL 60532

US Trustee
Patrick S Layng
Office of the U.S. Trustee, Region 11
219 South Dearborn Street, Room 873
Chicago, IL 60604




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